              Case: 1:19-cv-06014 Document #: 10 Filed: 10/15/19 Page 1 of 8 PageID #:25
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         10  /2019                           UNITED STATES DISTRICT COURT

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                      ICT COUFOR             THE NORTHERN DISTRICT OF                            ILLINOIT}ECEIVED
             f{tnt t-        A        \lhbt&,J€L                                                                          sEP 06      2019    ['
                                                                                                                    THOTIAS G BRUTON
                                                                                                                CLERK, U.S. DISTRICT COt,RT

      Plaintiff(s),                                                        Case Number:


                                                                              1:19-cv-06014
             crli o€ c\+xo t+bo                                               Judge John Z. Lee
                                                                              Magishate Judge Jefhey Cummings

      Defendant(s).



                                COMPLAINT OF EMPLOYMENT DISCRIMINATION

        1.   This is an actio n for employment discrimination.

        2.   The plaintiff is         RHu      u        Vfts @ve7-                                                                   of the

        county"                                                              inthestateoM
        3.   The defendant       is  CLl1 ot- C *1A*6 0
                                       aR     e                             , whose


        streetaddress is l2 |    tlorth LftenceE 5te.e-=-r- fiua7E $ 6aD,
        (city) C\ll0Fbo (county) Coo l^         (state) 'o lh,bi 5 @P) 6Ob oZ

        (Defendant's telephone number) (2i1-) - 7'l'l-0 I OO

        4.   The plaintiff sought employment or was employed by the defendant at (street address)

                   5 t OI            6,      r^/   €|\VAc'll-t ftUe                          (citfi c [tt            OAG o

             (county) COo K                  (state;    f, l--         (zW     codi      6 o b oQ




                                                                                                      and reference that section.]
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5.      The plaintiff lcheck one boxl

        (a) tr              was denied employrnent by the defendant.

        (b) /               was hired and is still employed by the defendant.

         (c) tr             was employed but is no longer employed by the defendant.

6.      The defendant discriminated against the plaintiff on or about, or beginning on or about,
         (month) F            eS         ,   (day) O \           ,(year) QDIB

7.r      (Choose paragraph 7.1           or   7,2, do not complete both.)

         (a)     The defendant is not a federal govemmental agency, and the plaintiff
                 lcheck one boxf Ehas flnas not filed a charge or charges against the defendant

                 asserting the acts of discrimination indicated in this complaint with any of the

                 following government agencies             :



                 (D S the United States Equal Employment Opportunity                             Commission, on or about

                            (month)     hU60b{ (day) 11                         (year;     t0    t8,


                 (ii) E the Illinois Department of Human Rights, on or about
                            (month)                       (dav)-                (vear)-.
         (b)     If   charges were     fiedwith     an agency indicated above, a copy of the charge is

                 attached.      E[ Yes, E No, but plaintiff will lile a copy of the charge within                            14 days.



         It is the policy of both the Equal Employment Opportunity Commission and the Illinois

         Department of Human Rights to cross-file with the other agency all charges received. The

         plaintiff     has no reason to believe that this         policy was not followed in this case.



7.2      The defendant is a federal govemmental agency, and

         (a)          the   plaintiff previously filed    a    Complaint of Employment Discrimination with the

             [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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         defendant asserting the acts of discrimination indicated in this court complaint.

                      E     Yes (month)                                  (day)_             (year)

                      E No, did not file Complaint of Employment Discrimination
         (b)          The plaintiff received a Final Agency Decision on (month)

                      (dav)                  (vear)

         (c)          Attached is a copy of the

                      (i)       -
                            Complaint of Employment Discrimination,

                            El      Yes E No, but a copy will be filed within 14 days.
                      (ii) Final Agency Decision

                            E Yes E N0, but a copy will be filed within 14 days.

8.       (Complete paragraph 8 only if defendant is not afederal governmental agency.)

         (a)     tr         the United States Equal Employment Opportunity Commission has not

                            issued a Notice of Right to Sue.

         (b)     tr   the United States Equal Employment Opportunity Commission has issued

                            a   Notice of Right to Sue, which was received by the plaintiff on

                            (month)                          (day)-                (year)-                 a copy    of which

                            Notice is attached to this complaint.


9.       The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

         those that applyf:

         (a) tr        Age (Age Discrimination Employment Act).

         (b) E         Color (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).



               [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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       (c) tr      Disability (Americans with Disabilities Act or Rehabilitation Act)

       (d) E       National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

       (e)    d    Ru.. (Title VII of the Civil Rights Act of                 1964 and42 U.S.C. $1981).

       (0 tr       Religion (Title VII of the Civil Rights Act of 1964)

       (g)    tr   Sex (Title     VII of the Civil Rights Act of 1964)


10.    If the defendant is a state, county, municipal (city, town or village) or other local

       govemmental agency, plaintiff further alleges discrimination on the basis of race, color, or

       national origin (42 U.S.C. $ 1983).


11.    Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

       by 28 U.S.C.$ t33r,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(0(3); fot 42

       U.S.C.$1981 and g1983by 42U.S.C.$1988; fortheA.D.E.A.by42 U.S.C.$l2rl7:' forthe

       Rehabilitation Act, 29 U.S.C. $ 791.


12.    The defendantlcheck only those that applyl
       (a)   tr
              failed to hire the plaintiff.

       (b)   tr    terminated the plaintiff s employment.

       (c)   tr    failed to promote the plaintiff.

       (d)   tr    failed to reasonably accommodate the plaintiff                   s   religion.

       (e)   tr    failed to reasonably accommodate the plaintiff s disabilities.

       (0 tr       failed to stop harassment;

       (g)   tr    retaliated against the plaintiff because the plaintiff did something to assert rights
                   protected by the laws identified in paragraphs 9 and l0 above;

       (h)    E    other(specify):         wR6                                3oAq5 FIrD (o0 D*Ys gendrl
                                                       'U5flefiAd
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                  qL,tO



13.   The facts supporting the plaintiff s claim of discrimination are as follows:

         t   .    Q   rarc\   trff o?-'{ed 5 Ar.Y ause€I^ e\crn 4                                                   $
        ?O C.q                  405     AaC\Oidfr W ,r\nor,rl Qc.Y "Lrref ft'\rn f
                                                                                /
         €zbL               c\l-ffQ@E

         a_. ? r-'ftr_ Frls(+                     wh3                   De iJcE_D FI^LA
        7. {rlua);ff                         Vt(^b N                    60 o\Nt aosoen |'on                           Penold   y
14.    IAGE DISCRIMINATION ONLY) Defendant knowingly, intentionally, and willfully
       discriminated against the plaintiff.

15.    The plaintiff demands that the case be tried by a jury.                    fl   Yes    tr   No

16.    THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
       lcheck only those that apply)

       (a)        E    Direct the defendant to hire the plaintiff.

       (b)        E    Direct the defendant to re-employ the plaintiff.

       (c)        E    Direct the defendant to promote the plaintiff.

       (d)         E   Direct the defendant to reasonably accommodate the plaintiff                          s   religion.

       (e) E            Direct the defendant to reasonably accommodate the plaintiff s disabilities.

       (0          E    Directthedefendantto(specify):                     ?t,rqz               dtcl?lm€ 1ra4
                                                                                               *ll
                   offiPlrqee (ecoroi     ntt +L/ fe     ,t     ;                        baLK ecLl ft tlo. ne/
                      ?eeb , ne.^rur€ t rwe Ave tos, , anc(                                                         a'nt4
                                                                                                  reference that section']
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          (e)          tr If available,   grant the plaintiff appropriate injunctive relief, lost wages,
                             liquidated/double damages, front pay, compensatory damages, punitive
                             damages, prejudgment interest, post-judgment interest, and costs, including
                             reasonable attomey fees and expert witness fees.

          (h)          a Grant such other relief as the Court may find appropriate.



             Q-r+vc {fr,qurz
          (Plaintiff s name)

                2g?? w GL{1^ €L CrtfofrC7tLL 60621
          (Plaintiff       s street address)



          (City)         c   wr0n-6 0                 (State)      fc-          QrD Go021

          (Plaintiff s telephone number) G-t?J                   - b tq'?Lt 5"-

                                                                                     Date:       Of - 5F-g-2Alzt




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                                                                                                                 that section']

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                        Case: 1:19-cv-06014 Document #: 10 Filed: 10/15/19 Page 7 of 8 PageID #:25
 EEOC   fom 5 (lll09)

                                 CHeRcr or DrscRrvrrNATroN                                                                        ChargePresentedTo;                    Agency(ies)ChargeNo(s):
                    This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                                               FEPA
                          Statement and other information before completing this form.
                                                                                                                                             EEoc                             44V20L943373

                                         ,                            tllinois eepartnre$t Of rnrnian
                                                                                      S ta te   or loca I Agency,   if a ny
 Name (indicate Mr,, Ms.,     Mrs)                                                                                                                      Home Phone                         Year   ofBirth
 Mr. RaulAVasquez                                                                                                                                   (stz) stvaqsz                             1983
 Street   Address                                                                                City, State and zlp Code

 6316 S. Komensky ave,                   CHICA@,\.6O6ZI

Named is the Employer, t,abor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That f Silieve Discriminated
Against Me or Others. (Ifmore than two, list under pART\C|JLARS below.)
 Name                                                                                                                                          No. Employees, Members                 Phone No.

CITY OF CHICA@                                                                                                                                         501+                     (gtz)tto-oo@
    Address
Street                                                                                          city, srate and ztp code

3510 S MichiganAve, CHICAGO, IL 60653


Name                                                                                                                                           No. Employees, Memben                 Phone No.



Street Address                                                                                  City, State and ZIP Code




DISCRIMINATION      B ASED   ON (Check appropriate box(es).)                                                                                          DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                                                Earliest                      Latest

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                   l_l       orHER 6peci0)                                                                                                                              .o"r,"rrNcAcrroN
                                                                                                                                                               fl
THE PARTICULARS         AW (lfadditional paper is needed, attach extra shee(il):
  I began my emplo5nnent witl Respondent on or about September L,?OLO. My current position is Police Officer. During my
  employment, I had to go on medical leave. Subsequently,I was subjected to scrutiny harassment and suspension

  I believe I am being discrirdnated against in retaliation for engaging in protected activity, in violation ofTitle VII of the Civil
  nights ect of Lg64,as amended"




IwantthischargeftledwithboththeEEOCandtheStateorlocalAgency,ifany.                         lwill              NOTARY          -   When necessaty for State and Local Agency Reguirements
advise the agencies ifl change my address or phone number and I will cooperate fully with
them in the processing of my charge in accordance with their procedures.
                                                                                                              I swear or affirm that I have read the above charge and that                 it is true [o the
I declare under pena.l$r       ofperjury that the above is true and correct.                                  best of my knowledge, information and belief.
                                                                                                              SIGNATURE OF COMPLAINANT




                                                                                                              SUBSCRIBED AND SWORN TO BEFORE.ME THIS DATE
           Digita[y dped by naul Vasgrez on oG10-2019 1236 PM EDT                                             (month, day,yeafi
                    Case: 1:19-cv-06014 Document #: 10 Filed: 10/15/19 Page 8 of 8 PageID #:25
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                                         U.S. EouAL EMpLoyMENT OppoRTUNtw Conltnltrsslon

                                                 Drslrrssll         AND     Nonce oF RrcHTS
         Raul A. Vasquez                                                                        From: Chicago District Office
         6316 S. Komensky ave
                                                                                                      230 S. Dearborn
         Chicago, lL 60629 ,                                                                          Suite 1866
                                                                                                      Chicago,lL 60604


      E                     On behalf of person(s) aggrieved whose identity is

  ffic ct*rs"il;                               EEOC Representative                                                          Telephone No.
                                               Sergio Maldonado,
  440-2019-03373                               lnvestigator                                                                 (312) 872-e72e
  THE EEOC !S CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING
      fl                                                        REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes
                                                                                                 enforced by the EEOC

      tl         Your allegations did not involve a disability as defined by the Americans With Disabilities
                                                                                                             Act.

     r-t-        The Respondent employs less than the required number of employees or is
                                                                                         not otherwise covered by the statutes.

     E           Your charge was not timely filed with EEoc; in other words, you waited
                 discriminationto file your charge
                                                                                        too long after the date(s) of the alleged

     E          The EEoC issues the following determination: Based upon its investigation, the EEoC
                information obtained establishes violations of the statutes. ttris does not certifo that the
                                                                                                               is unable to conclude that the
                                                                                                             respondent is in compliance with
                the statutes' No finding is made as to any other issues that might be construed as having been

     E          The EEOC has adopted the findings of the state or local fair employment practices agency
                                                                                                                   raised        by this
                                                                                                         that investigated this charge.
                                                                                                                                           .fi"rg".-


     E          Other (briefly state)



                                                       . NOTICE OF SUIT RIGHTS -
                                                 (See the additional information attached to this form.)

Title Vll' the Americans with Disabilities Act, the Genetic Information Nondiscrimination
                                                                                                     Act, or the Age,,
Discrimination in Employment Act: This will be the only notice of dismissat and of              rig;ii;;t;il;i;J,iiitt
You may file a lawsuit a-gglnst the respondent(s) under federal law based on this chaige  vori                           seno you.
                                                                                              in flderal or state court. your
lawsuit must be filed W..l.THlN.90 DAYS of your receipt of this notice; or your right io sue based
                                                                                                         on this charge will be
lost. (The time limit for filing suit based on a tlaim undei state law may be different.i

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful
                                                                                                           violations) of the
alleged EPA-underpayment. This means that backpay due for any viotations ihat occrrred
                                                                                               more than 2 vears (3 vears)
before you file suit may not be collectible.

                                                                      behalf of the


Enclosures(s)
                                                                Julianne Bowman,                                                (Date Mailed)
                                                                 District Director
         CITY OF CHICAGO DEPT
         c/o Eileen Geary, Esq.
         Ghief Assis. Corporation Counsel
         30 N. LaSalle Street, Room 1040                                                     .;.li
         Chicago, lL 60602                                                       li.- i:-'




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